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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                                       Plaintiff,
                                                               Case No. 1:19-cv-2379
                 v.

 DONALD F. MCGAHN II,

                                       Defendant.


                                  NOTICE OF APPEARANCE

       I, Josephine Morse, hereby enter my appearance as counsel in the above-captioned case for

the Committee on the Judiciary of the United States House of Representatives. Please send all

future notices in this matter to me.

                                          Respectfully submitted,
                                          /s/ Josephine Morse
                                          JOSEPHINE MORSE (D.C. Bar No. 1531317)
                                          Associate General Counsel
                                          OFFICE OF GENERAL COUNSEL*
                                          U.S. HOUSE OF REPRESENTATIVES
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                                          Jodie.Morse@mail.house.gov
                                          Counsel for the Committee on the Judiciary,
                                          United States House of Representatives
August 9, 2019

       *
          Attorneys for the Office of General Counsel for the U.S. House of Representatives are
“entitled, for the purpose of performing the counsel’s functions, to enter an appearance in any
proceeding before any court of the United States or of any State or political subdivision thereof
without compliance with any requirements for admission to practice before such court.”
2 U.S.C. § 5571.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2019, I caused the foregoing document to be filed via

this Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                    /s/ Josephine Morse
                                                   Josephine Morse
